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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:
Michael Trujillo, individually and on behalf of all
others similarly situated,                                                                       5:19-cv-02072-ODW-SP
                                                              Plaintiff(s),
                                     v.

Free Energy Savings Company, LLC,                                                             CERTIFICATION AND NOTICE
a California company,                                                                           OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                               Plaintiff Michael Trujillo
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                    PARTY                                                            CONNECTION / INTEREST
Woodrow & Peluso, LLC                                                         Counsel for Plaintiff and the alleged class
Afshin Siman                                                                  Counsel for Plaintiff and the alleged class




         30/10/2019                                        s/ Afshin Siman
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
